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                                                                        FILED IN CHAMBERS
                                                                                U.S.D.C. - Atlanta
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA JAN 1 0 2012
                               ATLANTA DIVISION
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 UNITED STATES OF AMERICA
                                                                         By:       17"" eputyClerk
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                                                        CRIMINAL CASE NO.
 v.                                                     1:11-CR-0060-4-0DE-RGV
ALBERT ESPINAL


                                              ORDER

        This   criminal       case     is     currently before           the      Court on the
Report and Recommendation ("R&R") of Magistrate Judge Russell G.
Vineyard       [Doc.    66]    filed        on   August      29,   2011.           In     the     R&R,
Magistrate Judge Vineyard recommended denying Defendant Albert
Espinal's motion to suppress evidence and statements                                    [Doc.     31].
On    September        13,    2011,     Defendant           Espinal     timely          filed        his

objections      to     the    R&R     [Doc.      71].    For   the      following          reasons,
Defendant      Espinal's       objections           [Doc.    71]   are OVERRULED,                Judge
Vineyard's R&R [Doc. 66] is ADOPTED IN ITS ENTIRETY, and Defendant
Espinal's motion [Doc. 31]              is DENIED.
I.      Factual Background and Procedural History
        Defendant       Espinal       has     not    objected      to    Judge          Vineyard's
findings of fact as stated in the R&R.                         The Magistrate's version
of the facts is not clearly erroneous and therefore is adopted by
this Order.       Because the factual background is laid out in detail
in the R&R, it is not necessary to recite all of the facts again
here.     Relevant facts will be discussed below in the analysis of
Defendant's objections and the review of the R&R.
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II.     Discussion
       A.      Standard of Review
        Pursuant to 28 U.S.C.            §    636{b) (1), the Court must conduct a
~~~=        review of those portions of the R&R to which Defendant has
timely and specifically objected.                     The Court may accept, reject,
or modify, in whole or in part, the findings and recommendations
made by the magistrate judge.                       28 U.S.C.     §    636 (b) (1) i
~~E2~~~~~~,                  447 U.S. 667, 673-74 (1980).                  However, for a
party's objections to warrant de novo review,                           he "must clearly
advise the district court and pinpoint the specific findings that
[he] disagrees with."                 United States v. Schultz, 565 F.3d 1353,
1360     (11th     Cir.     2009).      The    Eleventh      Circuit     has     noted    that
"[p]arties         filing      objections        to    a    magistrate's         report   and
recommendation must specifically identify those findings objected
to.      Frivolous,       conclusive,         or general objections need not be
considered by the district court."                         Marsden v. Moore,       847 F.2d
1536, 1548 (11th Cir. 1988).
        The remainder of the R&R,                   to which neither party offers
specific objections, will be assessed for clear error only.
Tauber v. Barnhart, 438 F. Supp. 2d 1366, 1373                            (N.D. Ga. 2006)
(Story,      J.)      (\\ [I] ssues    upon which no specific objections are
raised do not so require de novo review; the district court may
               'accept,       reject, or modify,            in whole or in part,           the
findings      or recommendations made                 by the     magistrate        judge [,] ,
applying      a    clearly      erroneous        standard.")          (quoting    28   U.S.C.
§   636 (b) (1) ) .




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       B.      Defendant Espinal's Motion to          Suppress    Evidence and
               Statements
       In Defendant Espinal's motion to suppress [Doc. 31], he moves
the Court to suppress evidence seized and statements made during
the stop and arrest of Mr. Espinal on July 9, 2009.                Mr. Espinal
contends that he was detained by officers of the Gwinnett County
Police Department      (GCPD)   without the constitutionally required
justification when he was found asleep in the passenger seat of a
pick up truck parked in a McDonald's parking lot during the early
morning of July 9, 2009.
       After an evidentiary hearing conducted by Judge Vineyard and
post-trial      briefing by Mr.    Espinal     and    the   government,     Judge
Vineyard recommended that Mr.           Espinal's motion to suppress be
denied as to all evidence and statements at issue.                  Magistrate
Judge Vineyard found that the initial approach and interaction
between the officers and Defendant Espinal was a citizen encounter
that required no objective justification [Doc. 66 at 17].                   Judge
Vineyard further found that subsequent to this lawful encounter,
"a series of events quickly unfolded that provided Sgt. Brustein
with    reasonable     suspicion   to       briefly   detain     Espinal,     and
thereafter resulted in probable cause for his arrest"               [Id.]
       Espinal objects to Judge Vineyard's conclusion as to the
legality of the initial encounter and the existence of reasonable
suspicion to justify what Espinal contends was a Terry stop [Doc.
71 at 5-6] .

       Thus,    the threshold inquiry is whether the initial contact
with Espinal was a consensual encounter that did not implicate the
Fourth Amendment or whether it rose to a Terry stop requiring


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reasonable suspicion to be constitutional.                        An interaction with

the police changes from a voluntary encounter to a Terry stop when
a     reasonable    person    would    no        longer   feel     free        to   leave   or
otherwise terminate the encounter with the police because "the
officer, by means of physical force or show of authority, has in
some way restrained          the    liberty of        a    citizen.     II      Michigan v.
Chesternut, 486 U.S. 567, 573 (1988) i Florida v. Bostick, 501 U.S.
429, 434    (1991) i Terry v. Ohio, 392 U.S. 1, 20 n.16 (1968).                             If
the Court determines the encounter falls short of a Terry stop,
then it does        not    implicate    the       individual's         Fourth Amendment
rights     and    the   officer    needs     no     objective         justification for
approaching the citizen.            If the encounter is a Terry stop, then
the    officer     must    show    reasonable        articulable             suspicion    that
criminal activity is afoot.             Terry, 392 U.S. at 30.
        In this case, Sergeant Brustein and Officer Dickerson, two
on-duty,     uniformed      officers    with        the   GCPD,       were      directed    on
July 9, 2009 by GCPD to respond to a McDonald's in Gwinnett County
to look into a suspicious vehicle in the parking lot [Doc. 55 at
8].     At 1:40 a.m.,      they found a pick-up truck with its windows
rolled down and parked in a parking space in the corner of the
lot,     with    Defendant    Espinal        asleep       in    the    passenger         seat.
Sergeant        Brustein   parked      the       marked    police        vehicle      behind
Defendant's truck such that Defendant would not have been able to
exit his parking spot [Doc. 55 at 50-52].                      Sergeant Brustein then
exited his vehicle, approached the Defendant, and woke him up.                              He
asked Defendant why he was in the parking lot and sought his
identification.



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       The Court's task is to determine the nature of the encounter
at this moment in time.           Whether the officers needed reasonable
suspicion to      initiate    this       encounter with Espinal           depends    on
whether the encounter,        at this moment,         was still consensual or
whether Mr. Espinal had effectively been seized.                   Espinal contends
that because the officers were in uniform, drove a marked police
car, and blocked Espinal's vehicle from leaving its parking spot,
they were "restricting his freedom,                had he wished to leave the
area" [Doc. 71 at 4].        However, the Eleventh Circuit has held that
an individual in a parked car is not seized simply because a
police officer parks his car in a way that blocks the individual
from departing by car.            Miller v.       Harget,      458 F.3d 1251,      1258
(11th Cir.      2006)    ("The fact that Officer Harget turned on his
'window lights,' in addition to parking behind the . . . vehicle,
does     not   necessarily make      his       approach   of     [the   defendant]    a
coerced detention.").        In his objections, Espinal acknowledges the
holding in Miller but argues that "this court must look at the
totality of the circumstances," specifically that two uniformed
officers, in a marked patrol car, approached Defendant and asked
for identification [Doc. 71 at 5]                 Espinal also notes that the
officers had weapons but concedes that the weapons were not drawn
[Id.].     Indeed, there is no evidence or allegation that Sergeant
Brustin's      initial   exchange    with Espinal           involved any show of
force,    authority, or other indication "that compliance with the
officer's      request    might     be    compelled."           United    States     v.
Mendenhall, 446 U.S. 544, 554 (1980).                This Court concludes that
at the moment Sergeant Brustin approached Mr.                     Espinal's parked



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vehicle,      no obj ectivel         justification was          required because the
encounter was not yet a detention. 2
        Although the original motion to suppress challenged both the
justification for the initial encounter with Mr. Espinal and the
scope       and   duration     of    the    subsequent      detention,       Mr.     Espinal
objects       only      to   the    R&R's    characterization          of    the     initial
encounter as consensual and,                assuming it was a Terry stop, the
sufficiency of           the   officers'       justification.          Thi s   Court     has
reviewed de          novo    the    conclusion       in   the   R&R   that     the    Fourth
Amendment was not implicated when the officers initiated contact
with Mr. Espinal.
        Because the initial questioning of Mr. Espinal, as well as
the request for his identification, did not require reasonable
suspicion,        the    Court      need not       consider the       remainder of Mr.
Espinal's objections about whether the justification offered by
the government rose to the level of reasonable suspicion.




       Espinal also argues that the officers acted with intent to
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restrict Espinal's freedom of movement [Doc. 71 at 2]. However,
the R&R correctly notes that an officer's unexpressed intent to
detain the individual is irrelevant because the standard for
determining whether a seizure has occurred is an objective one.
    Doc. 66 at 13-14; Mendenhall, 446 U.S. at 555.

     2 It is also well established law that  "even when officers
have no basis for suspecting a particular individual, they may
generally ask questions of that individual, ask to examine the
individual's identification, and request consent to search his or
her [belongings]-as long as the police do not convey a message
that compliance with their requests is required."    Bostick, 501
U.S. at 434-35 (internal citations omitted).      Thus, Sergeant
Brustein's initial questions and request for identification from
Mr. Espinal fell well within the scope of a voluntary encounter.

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     The remainder of the Magistrate's analysis in the R&R has
been reviewed for clear error.      Finding none, the R&R [Doc. 66] is
ADOPTED IN ITS ENTIRETY.
III. Conclusion
     Having reviewed de novo those portions of the R&R to which
Defendant objected, Defendant Espinal's objections [Doc. 71] are
OVERRULED, and Judge Vineyard's R&R (Doc.        66]   is ADOPTED IN ITS
ENTIRETY.    Accordingly, Defendant's motion to suppress evidence
and statements (Doc. 31] is DENIED.


     SO ORDERED this      to     day of January, 2012.



                                  ORINDA D. EVANS
                                  UNITED STATES DISTRICT JUDGE




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